Case 1:08-cv-00165-BLW Document 61-7 Filed 09/29/10 Page 1 of 7

CHRIST T. TROUPIS

TROUPIS LAW OFFICE P.A.
1299 E. lron Eagle, Ste 130

P.O. Box 2408

Eagle, Idaho 83616

Ph: (208) 938-5584

Fax: (208) 938-5482

Email: ctroupis@troupislaw.com

JOHN ERIC SUTTON

J.E. SUTTON & ASSOCIATES
200 N. 3" St., Ste 2&3

Boise, Idaho 83701

Ph: (208) 336-4444

Fax: (208) 336-4494

Email: jesutton@jesutton.com

Attorneys for Plaintiff Idaho Republican Party

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO

IDAHO REPUBLICAN PARTY, et.al.,
Plaintiffs,
vs.

BEN YSURSA, In his Official Capacity as
Secretary of State of the State of Idaho,

Defendant.

eee “ene “eee “eee Senge “eee “nee “eee! See! “tome “eee

Case No. 1:08-CV-00165-BLW

AFFIDAVIT OF DAVID RIPLEY

David Ripley, being first duly sworn, deposes on oath and states:

1. | am nota party to this lawsuit. Each of the matters stated herein are known to

me of my personal knowledge and if sworn as a witness, | could testify

competently thereto.

Affidavit of David Ripley . 4
Case 1:08-cv-00165-BLW Document 61-7 Filed 09/29/10 Page 2 of 7

2. | came to Idaho in 1984 under the auspices of the National Education
Association’s Political Action Committee (NEA-PAC) to assist with the election of
Richard Stallings to Congress from Idaho’s 2” District.

3. | have been a paid political strategist in every election cycle since 1978, during
which | served as a field organizer for Gene Wenstrom, Democratic candidate for
Congress in Minnesota’s 7" District.

4. In 1985, | served as the general political consultant/strategist for a mayoral
candidate in New Orleans, after which | returned to Idaho to co-found a
progressive political consulting firm with John C. Stocks, former Democrat state
senator from Coeur d’Alene, Idaho.

5. As a Democrat political consultant, my client list included the Idaho State Senate
Democrats’ Campaign Committee, the Ada County Democratic Party, the
LaRocco for Congress Committee, the Williams for Congress Committee, the
Idaho Education Association, the Wisconsin Education Association, the National
Education Association, the National Organization for Women, Freedom Means
Choice PAC, among numerous others.

6. In 1992 | closed the successor consulting firm (Ripley & Associates, Inc.) in order
to accept a full-time position as the first Political Director of the Idaho Education
Association. | served in that position until 1994.

7. Since 1995 | have served as Executive Director of Idaho Chooses Life. In that
capacity | have been involved in many legislative campaigns each election cycle.

8. | was approached by the Idaho Education Association’s Executive Director, Don

Rollie, in the winter of 1985, and offered a consulting contract with the political

Affidavit of David Ripley 2
Case 1:08-cv-00165-BLW Document 61-7 Filed 09/29/10 Page 3 of 7

action arm of the Idaho Education Association (PACE — Political Action
Committee for Education).

9. In 1985, the Idaho Education Association (“IEA”) strongly opposed positions
taken by the Idaho Legislature over teacher compensation and general education
funding. | was offered a consulting contract by the IEA in order to assist them in
expanding their political program to include Democratic participation in Idaho
Republican primaries.

10. Specifically, the IEA leadership had determined that the IEA could not affect
enough legislative votes simply by backing Democrats in general elections. It
needed to ensure that pro-education/moderate Republicans were elected in
Republican-dominated districts.

11.1 reluctantly accepted the consulting contract and continued under that
arrangement for the next four election cycles, from 1985 through 1992. | closed
my consulting firm in the winter of 1992 to accept a full-time staff position with the
IEA as their first Political Director.

12. In the five primary election cycles in which | worked for the IEA, our success rate
in electing moderate Republicans to the Legislature was about 80%.

13. The organization endorsed many candidates in each cycle — most of them
incumbents. Most endorsed candidates would simply be given money.
Beginning with the 1986 primary, | would be detailed to dea! with targeted
races/candidates — generally involving conservative Republican incumbents the

organization had targeted for defeat.

Affidavit of David Ripley 3
Case 1:08-cv-00165-BLW Document 61-7 Filed 09/29/10 Page 4 of 7

14. Over the entire course of my work with the IEA, from 1985 through 1994, my
responsibilities involved candidate recruitment, candidate training, assisting
candidates with message development, voter contact, fundraising, media,
printing, list development, precinct targeting, polling, direct mail projects and Get-
Out-The-Vote efforts.

15. Beginning with the 1986 cycle, | regularly organized cross-over voting efforts
among Democratic members of the IEA, as well as the Democrats in the affected
district's general population.

16. The specific strategies for cross-over voting campaigns varied from district to
district and year to year, but generally involved the following:

a) An effort to identify Democrats with a propensity for voting in primaries, as
well as a strong commitment to improved education funding.

b) Implementation of some form of organized persuasion appeal and Get-
Out-the-Vote program targeted at the identified Democrats. These efforts
included one or more of the following. Most races involved all of the tactics
listed below.

1) Sometimes we would do a direct mail piece, signed by some prominent
local Democrat, urging his fellow Democrats to vote for moderate
Republican candidate X against the “ultra-conservative” Republican
incumbent who “opposed public education.”

2) Sometimes | would organize a short-term political action committee to

sponsor mailings or phone calls to Democrats.

Affidavit of David Ripley 4
Case 1:08-cv-00165-BLW Document 61-7 Filed 09/29/10 Page 5 of 7

3) On other occasions | would use a phone bank to make phone calls,
with phoners purporting to be volunteers concerned about the quality
of education our kids were receiving and urging the voter to vote for
the moderate Republican.

17.The objective in Republican legislative primaries was to produce 300 to 1000
Democratic cross-over votes, which would usually be sufficient to allow the IEA-
endorsed candidate to win the primary election.

18. Given the expenses involved in running such an effort, the IEA’s long term goal
was to build a slate of moderate Republicans in the same District so that
resources could be maximized to affect one Senate seat and two House seats in
that District. The election of a whole team of moderates from a single District
carried the added benefit of long-term stability within the delegation: a unified,
pro-IEA delegation meant that each politician was reinforcing the message of the
other. After the successful election of a slate of moderates, it was cheaper and
easier for the IEA to defend those moderate incumbents because voters were
receiving the same basic message regarding education funding and other issues.

19. Because Idaho has an Open Primary Election, there was nothing to hinder the
IEA’s concerted effort to develop and implement strategic cross-over voting of
Democrats and other non-Republicans in Idaho Republican Primary Elections
during the five primary election cycles that | worked for it. In fact, if | had not
taken full advantage of this opportunity to influence the results of Idaho
Republican Primaries for the benefit of the IEA, it would have been a dereliction

of my duties as its political consultant.

Affidavit of David Ripley 5
Case 1:08-cv-00165-BLW Document 61-7 Filed 09/29/10 Page 6 of 7

20.idaho’s Open Primary Election law has not changed since | was employed by the
IEA. Since my work for them ceased and up to the present date, | have continued
to work in Idaho as a political consultant for multiple candidates in every Idaho
Republican Primary election cycle up to the present date. During that time, | have
observed that the IEA has continued to use the same methods to promote and
implement strategic cross-over voting that | helped it develop.

21. The strategic cross-over voting activities of the IEA have been extremely
effective in advancing the organization's political and social agenda. Certainly
the make-up of the Idaho Legislature, particularly the ideological orientation of
many elected Republicans, provides prima facie evidence that the Idaho
Education Association has continued to make effective use of the cross-over

strategies first implemented in the 1986 primary election.

FURTHER, AFFIANT SAYETH NOT. p GE

A bns
State of Idaho )
) ss.
County of Ada )

Subscribed and sworn to before me, a Notary Public in and for the State of Idaho
on this 11" day of January, 2010.

eva liddry,
at - ta (Ly)
os vel lhe,

ota ea a
” a0 44) ot Notary Public .
= My commission expires:
= Residing At:

Affidavit of David Ripley 6
Case 1:08-cv-00165-BLW Document 61-7 Filed 09/29/10 Page 7 of 7

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on this 13" day of January, 2010, | served a copy of

the foregoing Affidavit of David Ripley by email transmission, addressed to the following
persons:

Gary Allen

Givens Pursley

P.O. Box 2720

Boise, Idaho 83701-2720
garyallen@givenspursley.com

Harry Kresky

LAW OFFICE OF HARRY KRESKY
250 W. 57" Street, Ste 2017

New York, NY 10107
harrykresky@aol.com

Michael S. Gilmore

Karin D. Jones

Deputy Attorneys General

Civil Litigation Division

Office of the Attorney General

954 W. Jefferson Street, Second Level
P.O. Box 83720

Boise, ID 83720-0010
mike.gilmore@ag.idaho.gov
karin.jones@aq.idaho.gov

Affidavit of David Ripley 7
